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 5   Attorneys for Defendant
     HARLAY HOSPITALITY, INC.
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 7
                               UNITED STATES DISTRICT COURT
 8
                             CENTRAL DISTRICT OF CALIFORNIA
 9
10
11    ORLANDO GARCIA,                                  Case No.
12                    Plaintiff,                       DEFENDANT’S NOTICE OF
                                                       REMOVAL OF CIVIL ACTION
13          v.                                         TO UNITED STATES DISTRICT
                                                       COURT
14    HARLAY HOSPITALITY, INC., a
      California Corporation; and Does 1-10,           (Los Angeles Superior Court Case No.
15                                                      21NWCV00059)
                      Defendants.
16
                                                       Complaint Filed: January 29, 2021
17
     TO THE CLERK OF THE UNITED STATES DISTRICT COURT FOR THE
18
     CENTRAL DISTRICT OF CALIFORNIA AND TO PLAINTIFF AND HIS
19
     ATTORNEYS OF RECORD:
20
           PLEASE TAKE NOTICE that Defendant Harlay Hospitality, Inc. (“Defendants”)
21
     hereby removes the above-referenced action filed by Plaintiff Orlando Garcia
22
     (“Plaintiff”) (collectively the “Parties”) in the Superior Court of the State of California
23
     for the County of Los Angeles, to the United States District Court for the Central District
24
     of California, pursuant to 28 U.S.C. §§ 1441 and 1446, asserting original federal
25
     jurisdiction under 28 U.S.C. § 1331, to effect the removal of this action, and state that
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     removal is proper for the reasons set forth below.
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                         DEFENDANT’S NOTICE OF REMOVAL OF ACTION
     Case 2:21-cv-02133-SVW-AS Document 1 Filed 03/09/21 Page 2 of 4 Page ID #:2



 1                                        BACKGROUND
 2         1.     This removal involves a lawsuit that was filed by Plaintiff on January 29,
 3   2021 in the Superior Court of the State of California for the County of Los Angeles,
 4   entitled Orlando Garcia v. Harlay Hospitality, Inc., Case No. 21NWCV00059. See
 5   Declaration of Ashley N. Arnett (“Arnett Decl”) at ¶ 3.
 6         2.     The Complaint asserts two claims for relief against Defendant: (1) violation
 7   of Title III of the Americans with Disabilities Act (“ADA”)—42 U.S.C. § 12182, and (2)
 8   violation of the Unruh Civil Rights Act—Civil Code §§ 51, 52. See Arnett Decl. at ¶ 4.
 9                                TIMELINESS OF REMOVAL
10         3.     Plaintiff served Defendant with the Complaint via substitute service on
11   February 19, 2021. See Arnett Decl. at ¶ 5.
12         4.     As such, this Notice of Removal is timely as it is filed within thirty (30) days
13   “after the receipt by the defendants, through service or otherwise, of a copy of the initial
14   pleading setting forth the claim for relief upon which such action or proceeding is based .
15   . . .” See 28 U.S.C. § 1446(b)(1).
16                                 GROUNDS FOR REMOVAL
17         5.     This Court has original jurisdiction over actions involving one or more
18   federal questions. See 28 U.S.C. § 1331 (conferring original jurisdiction upon federal
19   courts for actions arising under the laws of the United States). Further, this Court “shall
20   have supplemental jurisdiction over all other claims that are so related to claims in the
21   action within such original [federal question] jurisdiction that they form part of the same
22   case or controversy . . . .” 28 U.S.C. § 1367(a).
23         6.     Plaintiff’s first cause of action in the Complaint seeks remedies under Title
24   III of the ADA—a federal statute codified at 42 U.S.C. §§ 12181, et seq. See Arnett
25   Decl. at ¶ 4, pp. 8-9. This action therefore presents a federal question over which this
26   Court has original jurisdiction pursuant to 28 U.S.C. § 1331.
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                         DEFENDANT’S NOTICE OF REMOVAL OF ACTION
     Case 2:21-cv-02133-SVW-AS Document 1 Filed 03/09/21 Page 3 of 4 Page ID #:3



 1         7.      Plaintiff’s remaining claim is asserted under California’s Civil Code §§ 51,
 2   52 (Unruh Civil Rights Act) based on an alleged failure to provide full and equal access
 3   to Defendant’s services, specifically relating to Defendant’s reservation policies and
 4   practices, in violation of the ADA. See Arnett Decl. at ¶ 4, p. 10.
 5         8.      Accordingly, this Court has supplemental jurisdiction over Plaintiff’s state
 6   law claim as it arises from, relates to, and emanates from the same alleged ADA
 7   violation, and is so related that it forms part of the same case or controversy pursuant to
 8   28 U.S.C. § 1367(a).
 9                                             VENUE
10         9.      Venue lies in the United States District Court for the Central District of
11   California pursuant to 28 U.S.C. §§ 84(c)(2) and 1391. This action originally was
12   brought in the Superior Court of the State of California for the County of Los Angeles,
13   which is located within the Central District of the State of California, and the allegations
14   in Plaintiff’s Complaint occurred in the County of Los Angeles.
15                                   NOTICE OF REMOVAL
16         10.     This Notice of Removal will be promptly served on Plaintiff and filed with
17   the Clerk of the Superior Court of the State of California for the County of Los Angeles.
18         11.     In compliance with 28 U.S.C. § 1446(a), true and correct copies of all
19   process, pleadings, and orders served upon Defendant, including the Summons and
20   Complaint, are attached as Exhibit A to the Declaration of Ashley N. Arnett.
21         12.     The undersigned, as counsel for Defendant, has read the foregoing and signs
22   this Notice of Removal pursuant to Rule 11 of the Federal Rules of Civil Procedure, as
23   required by 28 U.S.C. § 1446(a).
24         WHEREFORE, Defendant Harlay Hospitality, Inc. prays that the above action
25   pending before the Superior Court of the State of California for the County of Los
26   Angeles be removed to the United States District Court for the Central District of
27   California.
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                          DEFENDANT’S NOTICE OF REMOVAL OF ACTION
     Case 2:21-cv-02133-SVW-AS Document 1 Filed 03/09/21 Page 4 of 4 Page ID #:4



 1   DATED: March 9, 2021                       Respectfully submitted,
 2                                              SEYFARTH SHAW LLP
 3
 4                                              By: /s/ Ashley N. Arnett
                                                                Ashley N. Arnett
 5                                              Attorneys for Defendant
                                                HARLAY HOSPITALITY, INC.
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                      DEFENDANT’S NOTICE OF REMOVAL OF ACTION
